Case 2:17-cv-01622-SDW-LDW Document 9 Filed 08/16/21 Page 1 of 1 PageID: 62




IN RE:      FRANCISCO ROZO v. WALMART, INC., ET AL.
            DOCKET NO.: 2:17-cv-1622
Dear Counsel:

      I have been contacted by Judge Susan D. Wigenton who presided over
the above-mentioned case.

         Judge Susan D. Wigenton informed me that it has been brought to her
attention that while she presided over the case she owned stock in
WALMART, INC. Her ownership of stock neither affected nor impacted her decisions in
this case. However, her stock ownership would have required recusal under the
Code of Conduct for United States Judges, and thus, Judge Wigenton directed that I
notify the parties of the conflict.

      Advisory Opinion 71, from the Judicial Conference Codes of Conduct
Committee, provides the following guidance for addressing disqualification that is not
discovered until after a judge has participated in a case:



             [A] judge should disclose to the parties the facts bearing on
             disqualification as soon as those facts are learned, even though
             that may occur after entry of the decision. The parties may
             then determine what relief they may seek and a court (without
             the disqualified judge) will decide the legal consequence, if
             any, arising from the participation of the disqualified judge in
             the entered decision.

      Although Advisory Opinion 71 contemplated disqualification after a Court of
Appeals oral argument, the Committee explained “[s]imilar considerations would apply
when a judgment was entered in a district court by a judge and it is later learned that the
judge was disqualified.”

      With Advisory Opinion 71 in mind, you are invited to respond to Judge
Wigenton’s disclosure of a conflict in this case. Should you wish to respond,
please submit your response on or before September 16, 2021. Any response
will be considered by another judge of this court without the participation of
Judge Wigenton.
                              Sincerely,
                              s/William T. Walsh
                              William T. Walsh
                              Clerk of Court
